“Case 1:03-cv-21642-PAS Document 105 Entered on FLSD Docket 12/17/2008G ROR 6X17

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UNITED STATES DISTRICT COURT CLARENCE MADDOX

SOUTHERN DISTRICT OF FLORIDA CLERK, USDC/SDFL/ Mia
MIAMI DIVISION /

RIZALYN BAUTISTA, etc., et al. CASENO.:03-21642-CIV-SEITZ/BANDSTRA

PAUL PERALTA CASE NO.: 03-21643-CIV-SEITZ/BANDSTRA
RAYMOND LOVINO CASE NO.: 03-21644-CIV-SEITZ/BANDSTRA
RONALDO MARCELINO CASE NO.: 03-21645-CIV-SEITZ/BANDSTRA
ROLANDO TEJERO CASE NO.: 03-21646-CIV-SEITZ/BANDSTRA
ABDI COMEDIA CASE NO. : 03-21647-CIV-SEITZ/BANDSTRA
CRISTINA L. VALENZUELA, etc., et al. CASE NO.: 03-21648-CIV-SEITZ/BANDSTRA
MARILEN S. BERNAL, etc., et al. CASE NO.: 03-21649-CIV-SEITZ/BANDSTRA
WILLY I. VILLANEUVA, etc., et al. CASE NO.: 03-21650-CIV-SEITZ/BANDSTRA
MARCIA GRACIA L. ROSAL, etc., etal. CASE NO.: 03-21651-CIV-SEITZ/BANDSTRA

Plaintiffs,
v.

STAR CRUISES and NORWEGIAN
CRUISE LINE, LTD.,

Defendants.

DEFENDANT’S MOTION FOR SANCTIONS FOR VIOLATION OF THIS
COURT’S SEPTEMBER 10, 2003, MEDIATION ORDER

Defendant, Norwegian Cruise Line (“NCL”), by and through undersigned counsel,
hereby files this Motion for Sanctions for violation of this Court’s September 10, 2003,
Mediation Order and in support thereof states:

1. On September 10, 2003, this Court entered an Order for Expedited
Mediation. See September 10, 2003, Order attached hereto as Exhibit A. Therein, this
Court ordered an expedited mediation and further ordered that “[a]ll discussions,
representations and statements made at the expedited mediation conference shall be

confidential and privileged.” See id. at { 6.

MASE & GASSENHEIMER, P.A.
80 SW Eighth Street, Suite 2700, Miami, Florida 33130 (305) 377-3770 X
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2. In addition, it was stated explicitly that “[t]he Court may impose sanctions
against parties and/or counsel who do not comply with the attendance or settlement
authority requirements herein or who otherwise violate the terms of this Order.” See id.
at 8.

3. The expedited mediation conference was held on September 29, 2003 and
continued through September 30, 2003. Although both sides engaged in lengthy
settlement discussions, no settlement was reached at the mediation.

4. Notwithstanding this Court’s Order directing that all communications
made at the mediation remain confidential and privileged, Plaintiff's counsel, William
Huggett, disclosed to the media a monetary figure that the Defendant had allegedly
offered to the Plaintiffs, at the mediation, to settle the lawsuit. This disclosure, first
reported by the AP wire service, was most recently carried by The Bradenton Herald on
November 26, 2003. Specifically, the article reported and printed that “Huggett said
Norwegian had offered $11 million to settle lawsuits filed by 10 victims to avoid a

potential U.S. court decision against cruise lines." Families of Killed Cruise Ship Sailors

Sue For Donated Money, The Bradenton Herald, Nov. 26, 2003 attached hereto as

Exhibit B.!

' Notably, Huggett’s interview with the AP Wire is not the first breach of confidentiality of the mediation

order by the Plaintiffs or Plaintiffs’ counsel. On October 16, 2003, in a Sun-Sentinel Article, the
Plaintiffs disclosed that they “turned down an $8.5 million settlement offer from Norwegian Cruise
Line.” See SS Norway Victims, Widows Rejected $8.5 Million Settlement, Noaki Schwartz, Sun-
Sentinel, Oct. 16, 2003 attached hereto as Exhibit C.

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MASE & GASSENHEIMER, P.A.
80 SW Eighth Street, Suite 2700, Miami, Florida 33130 (305) 377-3770

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5. It is clear that Plaintiffs’ counsel and Plaintiffs willfully and deliberately
violated this Court’s Order by disclosing confidential and privileged communications
from the mediation conference to the media. This violation is inexcusable and should
subject Mr. Huggett to the severest of sanctions, including but not limited to a monetary
sanction, disqualification of Mr. Huggett from practicing before the Southern District of
Florida and disqualification of Mr. Huggett and his firm from any further representation
of the Plaintiffs in this matter.”

MEMORANDUM OF LAW

Federal Courts have the inherent power to impose appropriate sanctions against

attorneys for failure to comply with court orders. See Carlucci v. Piper Aircraft Corp..,

Inc., 775 F.2d 1440 (11" Cir. 1985). These sanctions include assessment of attorneys’

fees and costs, monetary penalties and disqualification of counsel. See Burden v. Yates,

644 F.2d 503 (5" Cir. Unit B 1981). In Kleiner v. The First Nat’] Bank of Atlanta, 751

F.2d 1193 (11" Cir. 1985), the Eleventh Circuit affirmed the disqualification of the
defendant’s counsel after its attorneys violated a court order that prohibited informal
contact with plaintiff class members. Not only were the attorneys disqualified from
further representation in the case, a fine of $50,000 was imposed against each attorney

and attorneys’ fees and costs were levied against the defendant bank.

2 Huggett’s ethical behavior in this case has been an issue on two separate prior occasions with regard to

his misrepresenting the law to the Court. This latest misstep, however, is much more egregious. First,
the two articles support this Court’s belief that Huggett is more concerned about the money in this case
than his clients’ best interests and display Huggett’s willingness to use his clients as conduit for himself
in the media and his own readiness to undermine the integrity of the mediation process.

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As a sanction, disqualification of counsel is subject to a two-part test. First, there
must be “at least a reasonable possibility that some specifically identifiable impropriety

did occur.” Woods v. Covington County Bank, 537 F.2d 804, 813 (5% Cir. 1976). Second,

“a court must also find that the likelihood of public suspicion or obloquy outweighs the
social interest which will be served by a lawyer’s continued participation in a particular
case.” Id. In the case at bar, Plaintiffs’ counsel unequivocally violated this Court’s Order
by disclosing confidential and privileged communication from the mediation conference
to the media. See Affidavit of Robyn Lustgarten, Esq. attached hereto as Exhibit D. Mr.
Huggett’s statement to the media is clearly an “identifiable impropriety.” In addition, the
violation of this Court’s Order and the egregious and prejudicial consequences to the
Defendant therefrom merits a finding that the “likelihood of public suspicion” outweighs
the “social interest” to be served by Mr. Huggett’s continued participation in this case.
Certainly, Mr. Huggett’s disclosure of the Defendants’ alleged last offer of
settlement to the media is enormously prejudicial and its damage cannot be undone.
Should this case ever be tried to a jury, there now exist issues of a tainted jury pool due to
Mr. Huggett’s statement, leaving NCL unable to have the claim heard by unbiased jurors.
Moreover, due to the disclosure, there are the obvious repercussions of a juror having
knowledge of confidential settlement discussions, which include a juror having a
preconceived notion of the Defendant’s liability due to its willingness, during the
mediation conference, to offer the Plaintiffs a substantial monetary sum to settle this case.
Even more important than the prejudice to NCL, however, is that the integrity of
the mediation process has been undermined through the actions of Huggett and his

clients. Quite simply, mediation fails if courts cannot vigilantly protect the process and

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guarantee confidentiality. If parties feel that the courts cannot safeguard the
confidentiality of the process, then parties will be constrained from making their best
offer to settle a case at mediation. Without sanctions to enforce the mediation order, the
ability of the Court to utilize mediation as a tool to resolve cases is harmed and the
fundamental fairness of the process is eroded.

Confidentiality of mediation is vital to entice the litigant to settle a case. It is
widely recognized and has been discussed by numerous legal scholars that:

Confidentiality lies at the heart of the mediation process.
Mediation would not be nearly as effective if the parties
were not assured their discussions would remain private ....
It is therefore essential to the success of the process that
parties freely disclose information relating to the dispute.

Beyond its trust-facilitating function, the existence of
confidentiality in mediation also lures parties to choose
mediation over litigation. Parties often prefer to "keep their
dispute out of the public eye." In many cases, the threat of
media coverage and bad public relations can be a major
concern.’ Confidentiality, especially of any settlement
agreement, can be a powerful mechanism to address the
"slippery slope" fears of oft-sued defendants such as the
media and large employers. Without confidentiality, these
defendants may opt to avoid settling cases for fear that a

landslide of additional lawsuits will follow.

Pamela A. Kentra, Alternative Dispute Resolution Symposium: Hear No Evil, See No
Evil, Speak No Evil: The Intolerable Conflict for Attorney-Mediators Between the Duty
to Maintain Mediation Confidentiality and the Duty to Report Fellow Attorney
Misconduct, 1997 B.Y.U.L.Rev. 715, 722-23 (1997).

In mediation, confidentiality is necessary to assure candid participation in the

process itself and to allow the mediator to work actively to facilitate the parties’ attempt

Certainly as this Court is well aware, there has been considerable media coverage of the facts, which
give rise to this lawsuit. Given the underlying nature of this incident, that is to be expected.
Unfortunately, Huggett’s willful disregard of this Court’s Order precipitated additional adverse media

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to reach a solution. The serious breaches of confidentiality by Huggett and his clients
have undermined the process and run afoul of this Court’s Order. As gatekeepers of the
mediation process, the courts must ensure that this mainstay in the ability to settle cases is
protected and that parties adhere to the tenets of the process. Huggett’s blatant disregard
of this Court’s Order is worthy of this Court’s most severe sanctions, including stiff
monetary penalties and disqualification of him as well as his firm from any further
representation in this matter.

This is not the first instance of Huggett disrespecting this Court. Early on in the
case he contended in a pleading that a CFR cited by the Defendants did not exist. When
Defendants filed the CFR and his associate Jay Wingate, Esq. was questioned about it in
open court, he offered no explanation for the “error.” In connection with Defendants’
Motion to Compel Arbitration, the copies of the Philippine opinion Tolosa, filed by
Huggett, were missing a critical page. When Defendants brought this matter to the
attention of the court, Huggett offered no explanation for the “error.” Here Huggett’s
violation of this Court’s Order is unmistakably intentional. A court’s excusing of
mistakes is appropriate and understandable. A court’s overlooking “good faith errors” is
equally appropriate. But a court faced with a lawyer who has demonstrated a pattern of
misconduct and who willfully and contumaciously defies an order of the court, is duty
bound to act in order to preserve and protect its own authority and the integrity of the

judicial process.

coverage, which has prejudiced NCL. It is for precisely this reason, among others, that this Court must
vigilantly protect confidentiality in the mediation process.

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MASE & GASSENHEIMER, P.A.
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CONCLUSION

Based on the foregoing, Defendant NCL respectfully requests this Court to enter
sanctions specifically requested above and to grant all further relief that the Court deems
just and proper.

Respectfully submitted,

MASE & GASSENHEIMER, P.A.
Attorneys for Defendant

80 Southwest Eighth Street, Suite 2700
Miami, Florida 33130

Telephone No.: (305) 377-3770
Telefax No.: (305) 377-0080

By Ca
L, MAS Lan
Florida Bar No. 478083
ROBYN LUSTGARTEN
Florida Bar No. 0227640
CERTIFICATE OF SERVICE

I HEREBY CERTIFY that a true and correct, copy of the foregoing was
furnished via Facsimile and by U.S. mail on this (bh of December, 2003, to all

parties listed on the attached list.

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MASE & GASSENHEIMER, P.A.
80 SW Eighth Street, Suite 2700, Miami, Florida 33130 (305) 377-3770
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CASE NO.: 03-21642-03-21651CIV-SEITZ/BANDSTRA

SERVICE LIST
(ATTORNEYS FOR PLAINTIFF)

William T. Huggett, Esq. Facsimile: (305) 539-0533
The Huggett Law Firm

66 W. Flagler Street

Suite 400

Miami, Florida 33130

Elizabeth K. Russo, Esq. Facsimile: (305) 666-4477
Russo Appellate Firm

6101 S.W. 76" Street

Miami, Florida 33143

Harley S. Tropin, Esq. Facsimile: (305) 372-3508
Kozyak Tropin & Throckmorton

200 S. Biscayne Blvd., Suite 2800

Miami, Florida 33131

Charles L. Lipcon, Esq. Facsimile: (305) 373-6204
Lipcon, Margulies & Alsina

2 South Biscayne Blvd.

Suite 2480

Miami, Florida 33131

16438/157306

8
MASE & GASSENHEIMER, P.A.
80 SW Eighth Street, Suite 2700, Miami, Florida 33130 (305) 377-3770
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

RIZALYN BAUTISTA, etc., et al. CASE NO. 03-21642-CIV-SEITZ/BANDSTRA
PAUL PERALTA CASE NO. 03-21643-CIV-SEITZ/BANDSTRA
RAYMOND LOVINO CASE NO. 03-21644-CIV-SEITZ/BANDSTRA
RONALDO MARCELINO CASE NO. 03-21645-CIV-SEITZ/BANDSTRA
ROLANDO TEJERO CASE NO. 03-21646-CIV-SEITZ/BANDSTRA
ABDI COMEDIA CASE NO. 03-21647-CIV-SEITZ/BANDSTRA
CRISTINA L. VALENZUELA, etc., et al. CASE NO. 03-21648-CIV-SEITZ/BANDSTRA
MARILEN S. BERNAL, etc., et al. CASE NO. 03-21649-CIV-SEITZ/BANDSTRA
WILLY I. VILLANUEVA, etc., et al. CASE NO. 03-21650-CIV-SEITZ/BANDSTRA
MARIA GARCIA L. ROSAL, etc., et al. CASE NO. 03-21651-CIV-SEITZ/BAWDSTRA

Plaintiffs.
Vv.

STAR CRUISES and NORWEGIAN
CRUISE LINE, LTD.,

Defendants.

ORDER GRANTING PLAINTIFFS’ UNOPPOSED MOTION FOR AN ORDER FOR
EXPEDITED MEDIATION

THIS MATTER ts before the Court on Plaintiffs’ Motion for Order for Expedited Mediation, filed
on September 3, 2003 [DE-56]. In its September 2, 2003 Order [DE-57], this Court encouraged the partics
“to make every good faith effort in the coming weeks to resolve this matter in as fair, expeditious and cost-
effective a manner as possible,” and advised the parties that “the Court stands ready to assist the parties in
any capacity in order to achicve this result, including by ordering an expedited mediation.” On September
3, 2003, Plaintiffs filed a Motion for an Order for Expedited Mediation [DE-56], advising the Court that
counsel for the parties were conferring in an effort to agree on a mediator. Defendants later joined in
Plainufts’ request for an expedited mediation by filing their Response in Agreement With Plaintiffs’ Motion

for Order for Expedited Mediation | DE-58).

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The Court commends the parties for their efforts to consider the merits of the case and to explore
mediation. Accordingly, it is hereby

ORDERED that:

(1) Plaintiffs’ Unopposed Motion for Order for Expedited Mediation is GRANTED;

(2) The parties shall have until September 15, 2003 to agree upon a mediator and to advise the
Court of its selection. If the parties are unable to agree upon a mediator, the Court will select a name from
the List of Certified Mediators maintained on the website of the United States District Court for the Southern
District of Florida. Based on its initial review of that list, the Court would consider selecting either Carol
Cope, Murray H. Dubbin, Karen Evans, Theodore (Ted) Klein, Richard C. Milstein, or Martin A. Soll. The
parties should jointly advise the Court if any of these proposed candidates should be eliminated from
consideration;

(3) Counsel for the parties shall agree on a mutually convenient date, time and place for the
expedited mediation. Thereafter, Plaintiffs’ counsel, with the agreement of defense counsel, shall complete
an Order Scheduling Expedited Mediation, in the form set forth in Local Rule 16.2.H, and submit it to the
Court for entry by September 17, 2003;

(4) The expedited mediation shall be completed no later than October 1, 2003;

(5) Except as provided under Local Rule 16.2.E for public-sector entities, the appearance of counsel
and each party or representatives of cach party with full authority to enter into a full and compicte
compromise and settlement is mandatory. Appearance shall be in person; telephonic appearance is
prohibited. If insurance is involved, an adjustor with authority up to the policy limits or the most recent
demand, whichever is lower, shall attend;

(6) All discussions, representations and statements made at the expedited mediation conference shall

be confidential and privileged:

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(7) At least three days prior to the expedited mediation date, all parties shall present to the mediator
a brief written summary of the case identifying the issues to be resolved. Copies of these summaries shall
be served on all other parties:

(8) The Court may impose sanctions against parties and/or counsel who do not comply with the
attendance or settlement authority requirements herein or who otherwise violate the terms of this Order. The
mediator shall report non-attendance and may recommend imposition of sanctions by the Court for non-
attendance;

(9) The mediator shall be compensated in accordance with the standing Order of the Court entered
pursuant to Rule 16.2.B.6, or on such basis as may be agreed to in writing by the parties and the mediator
selected by the parties. The cost of the expedited mediation shall be shared equally by the parties unless
otherwise ordered by the Court. All payments shall be remitted to the mediator within 30 days of the date
of the bill;

(10) Ifa full or partial settlement is reached in this case, counsel shall promptly notify the Court of
the settlement in accordance with Local Rule 16.2.F, by the filing ofa notice of settlement signed by counsel
of record within 24 hours of the expedited mediation conference. Thereafter, the parties shall submit an
appropriate pleading concluding the case.

pr
DONE and ORDERED in Miami, Florida, this {0 day of September, 2003.

Prusilyy

PATRICIA A. Spt %.
UNITED STA ISTRICT JUDGE

cc:

Mayistratc Judge Ted E. Bandstra

William T. Huggett, Esq. (fax: 305-539-0533)
Charles [.. Lipcon, Esq. (fax: 305-373-6204)
Curtis J. Mase, Esq. (fax: 305-377-0080)
Elizabeth K. Russo, Esq. (fax: 305-666-4470)
Harley S. Tropin, Esq. (fax: 305-372-3508)

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Families of killed cruise ship sailors sue for donated
money

By AP Staff
The Bradenton Herald
November 26, 2003

The families of Filipino sailors killed in a boiler explosion on the cruise ship Norway
are suing the ship's owner for charitable donations collected for the victims but not
given to them.

Norwegian Cruise Line said it had collected $350,000 two months after the
explosion, which left eight crew members dead and injured 18 others when the
ship was docked in Miami on May 25.

Subscribe

il But William Huggett, representing dead and injured crewmen, said Wednesday
Fill out the form below to that families who filed wrongful death and damage suits "have not received one
receive E-clips penny."

Email: He sued Tuesday in state court for a share of the donated money, which he said
| largely came from fellow employees.

First Name: Norwegian attorney Curtis Mase said Tuesday that it was like suing United Way for
| a portion of its donations and that it wasn't up to Huggett to decide how to spend
the money. The cruise line said last summer that a board was created to decide
how to distribute the donations, and scholarships and vacations would probably be
Last Name: funded.

Organization:

The Miami-based cruise line used its own money to pay crew members’ funeral
expenses and fly relatives of hospitalized workers to Miami in the days after the

shipboard blast. .

Title: Huggett claims Norwegian is withholding the donations in an attempt to financially
a: squeeze the victims' families into settlements that would kill a test case to

| determine the legal! rights of injured Philippine sailors.

Guemm) Crew members are appealing a decision throwing their lawsuits out of U.S. courts
and sending them to the Philippines for arbitration.

Huggett said Norwegian had offered $11 million to settle lawsuits filed by 10
victims to avoid a potential U.S. court decision against cruise lines.

Printer-Friendly Format

EXHIBIT

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SS Norway victims, widows rejected $8.5 million settleme

By Noaki Schwartz

Miami Bureau
Posted October 16 2003

MIAMI -- Filipino victims of a cruise ship explosion said they
turned down an $8.5 million settlement offer from Norwegian ™ Emails
Cruise Line, a number that mocks them now that a federal judge & print st
has ruled they must take their case back to the Philippines.

Law in that country caps awards in the deaths of overseas workers
at $50,000, and while the cruise line may pay out more, there is
no guarantee.

The company is not
commenting.
Norwegian
Attorney Curtis
Mase could not be
reached for
comment, and
William Huggett,
who represents
crew members
injured and women
widowed in the
blast, said the talks
between the two
sides are
confidential.

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- i On May 25, a boiler

exploded on the SS
Norway while it was docked in Miami, killing eight men and
injuring more than a dozen others. Filipino workers and relatives
of the dead filed 10 lawsuits that landed in federal court. U.S.
District Court Judge Patricia Seitz ruled Tuesday that U.S. courts
were not the place to deal with the lawsuits. They must be
arbitrated in the Philippines, she said, in compliance with the
government contract all the workers signed in Manila.

At the end of September, before issuing any ruling, Seitz had
directed attorneys for the cruise line and for the widows and
workers to try to reach a settlement out of court. Those talks
broke down, the widows said Wednesday, when Norwegian set its
final offer at $8.5 million and their attorney would not go below
$13.7 million.

Had they accepted Norwegian's offer, legal experts estimate each
family could have gotten about $500,000 -- 10 times the amount
EXHIBIT

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Cars

Personals

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http://www.sun-sentinel.com/news/local/southflorida/sfl-dcruise | 6oct16,0,249838.story?...

they expect from the Filipino government with its cap on awards.
Instead, they had put their hopes in the American court system.
Worried widows

Corazon Tejero's husband, Rolando, was the last of the eight to
die from burns suffered during the blast. She had hoped money
from the lawsuit would give her and her 12-year-old son a new
start. In the five months since the explosion, Tejero has been
unable to find work in Manila. She is staying with friends and
earning what amounts to $50 a month from harvests of the two
rice fields she owns.

On Wednesday, she and some of the other widows who have
grown close since the blast were just hearing about Seitz's
decision.

"Why? Why? Oh my God!" Tejero said. "How can I survive? How
can we start a new life if we only get a small amount of money?
It's not the money, but I need to move on."

Jennifer Paneguiton, who would have been married by now if her
fiancé hadn't died, says she is scared.

"If the lawsuit will be held in the Philippines, we can’t have justice
for him,” she said.

The women and the injured workers say they are trying not to
second-guess the potentially costly decision to turn down
Norwegian's offer. Their attorney says he is optimistic about
appealing Seitz's decision to the 11th Circuit Court of Appeals in
Atlanta.

"She'll either go down in flames or be sustained,” Huggett said.
"To have a chance to change the law and allow an entire nation to
have access to our courts ... that’s exciting.”

Another case

Huggett said Seitz overlooked a 2003 case in which the same
appeals court overturned a lower court decision. The appeals court
said the families of workers who died in 1998 when a Miami Beach
company's ship sank could pursue their case in the United States.
The foreign crew of the Fantome also signed contracts that
required them to litigate grievances or injuries before courts in
their home country.

Robert Jarvis, a maritime professor at Nova Southeastern Law
Center who used to represent ship owners, was not so optimistic.
"Litigation is litigation, arbitration is arbitration," he said. "If that’s
what he's hanging his hat on, he should go home now."

Seitz cited several factors in her ruling including that the United
States and Philippines are signatories of a treaty requiring
countries to respect each other's arbitration provisions. She also

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mentioned a 2002 ruling by the 5th Circuit Court of Appeals that
sent a case similar to those connected to the SS Norway back to
the Philippines.

In that case, a Filipino worker injured aboard a chemical ship sued
the ship's owner in New Orleans. A federal judge there ruled that
under the terms of the Filipino government's labor contract, the
case had to be arbitrated before a labor board in the Philippines. A
three-judge panel for the appeals court agreed, as did the full
court and the U.S. Supreme Court.

Bruce McAllister, an admiralty lawyer in Palm Beach who used to
work with Seitz, was not so quick to shoot down Huggett's
strategy. He thinks the two aren't that different.

"Who could be more deserving of protection than a foreign
seaman in a U.S. port who has got no one else to look after his
interests?” said McAllister, who was the acting administrator of the
U.S. Maritime Administration during the 1980s. "There's every
reason to extend protection of U.S. law to him, because after all,
he's serving primarily U.S. customers who pay their dollars to an
overseas company and in whose service they lost their lives.”

Noaki Schwartz can be reached at nschwartz@sun-sentinel.com or
305-810-5004.

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

MIAMI DIVISION
RIZALYN BAUTISTA, etc., et al. CASE NO.: 03-21642-CIV-SEITZ/BANDSTRA
PAUL PERALTA CASE NO.: 03-21643-CIV-SEITZ/BANDSTRA
RAYMOND LOVINO CASE NO.: 03-21644-CIV-SEITZ/BANDSTRA
RONALDO MARCELINO CASE NO.: 03-21645-CIV-SEITZ/BANDSTRA
ROLANDO TEJERO CASE NO.: 03-21646-CIV-SEITZ/BANDSTRA
ABDI COMEDIA CASE NO.: 03-21647-CIV-SEITZ/BANDSTRA
CRISTINA L. VALENZUELA, etc., et al. CASE NO.: 03-21648-CIV-SEITZ/BANDSTRA
MARILEN S. BERNAL, etc., et al. CASE NO.: 03-21649-CIV-SEITZ/BANDSTRA
WILLY I. VILLANEUVA, etc., et al. CASE NO.: 03-21650-CIV-SEITZ/BANDSTRA

MARCIA GRACIA L. ROSAL, etc., et al. CASE NO.: 03-21651-CIV-SEITZ/BANDSTRA
Plaintiffs,
v.

STAR CRUISES and NORWEGIAN
CRUISE LINE, LTD.,

Defendants.
/
AF T OF ROB
STATE OF FLORIDA )
) SS:
COUNTY OF DADE )

BEFORE ME, the undersigned authority personally appeared, Robyn E. Lustgarten, who
being first duly sworn, deposes and says:

1. My name is Robyn E. Lustgarten and I am an associate attorney at the Law Firm of
Mase & Gassenheimer, P.A.

2. I was assigned to research the contents of the November 26, 2003, article written by
the AP Wire, which serves as the basis for Defendant's Motion for Sanctions for Plaintiffs’

Violation of this Court’s September 10, 2003, order expediting mediation. Specifically, I was

EXHIBIT

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‘Case 1:03-cv-21642-PAS Document 105 Entered on FLSD Docket 12/17/2003 Page 17 of 17

charged with the responsibility of determining whether the statement, “Huggett said Norwegian
had offered $11 million to settle lawsuits filed by 10 victims to avoid a potential U.S. court
decision against cruise lines," found in the article entitled “Families of Killed Cruise Ship Sailors
Sue For Donated Money,” in The Bradenton Herald on November 26, 2003, was a direct quote
from Plaintiff's counsel William Huggett.

3. Through my research, I discovered that story originated out of the AP Bureau in
Miami, Florida. When I contacted the AP Bureau in Miami, I was told that reporter Kathy
Wilson authored the article.

4. On December 8, 2003, I called reporter Kathy Wilson and I personally spoke to her
about the article. She informed me that, indeed, the statement that “Norwegian offered 11 million
dollars to settle the claims” was a direct quote from Mr. Huggett, himself. She stated that Mr.
Huggett told her this during an interview she conducted with him regarding his representation of
the Filipino crew injured during an incident aboard the S/S Norway on May 25, 2003.

FURTHER AFFIANT SAYETH NAUGHT.

RO

SWORN TO and SUBSCRIBED before me, this / CA dy of December, 2003 by Robyn

E. Lustgarten, who is personally known to me or who has produced as
identification. SL t
G tary Public, State of rast
rint Name: Nt OTM a
#158038 My Commission Expires:

ay Laura M. Postman
My Commission 00236130
“ é Expires July 29, 2007
